   Case 18-32371                Doc 22          Filed 05/22/19 Entered 05/22/19 16:59:02                                    Desc Main
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